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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


 UNITED STATES OF AMERICA,                            CASE NO. 3:24CR450-1

                Plaintiff,                            JUDGE JEFFREY J. HELMICK

 v.                                                   MAGISTRATE JUDGE DARRELL A. CLAY

 JAJUAN CHANTE WORLEY,                                REPORT AND RECOMMENDATION TO
                                                      ACCEPT GUILTY PLEA
                Defendant.


       Pursuant to 28 U.S.C. § 636(b)(3) and General Order 99-49 of this Court, this matter was
referred to me, on consent of the parties, to: receive the defendant’s unconditional offer of a plea
of guilty; conduct the colloquy prescribed by Fed. R. Crim. P. 11; cause a verbatim record of the
proceedings to be prepared; refer the matter, if appropriate, for pre-sentence investigation; and
submit a Magistrate Judge’s Report and Recommendation indicating whether the plea should be
accepted and a finding of guilt entered. Accordingly, this Report and Recommendation, along
with the transcript or other record of the proceedings submitted contemporaneously, constitutes
my recommendation regarding the plea of guilty proffered by the defendant.
       1.      On March 18, 2025, Defendant, accompanied by counsel, proffered a plea of
               guilty.
       2.      Prior to such proffer, the defendant was: (a) examined for competency; (b)
               advised of the charge(s) and consequences of conviction; (c) informed that
               the Court may be required to give consideration to the advisory Federal
               Sentencing Guidelines and of the possibility of a departure from the
               Sentencing Guidelines; (d) notified as to his/her rights; (e) advised that
               he/she was waiving all of his/her rights except the right to counsel, and, if
               such were the case, his/her right to appeal; and (f) otherwise provided with
               the information prescribed in Fed. R. Crim. P. 11.




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                                                                                         revised 9.13.2021
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       3.      I questioned the defendant under oath to ensure that the defendant was
               making a knowing, intelligent, and voluntary plea of guilty. Based on that
               examination, I find that the defendant’s plea was, in fact, offered knowingly,
               intelligently, and voluntarily.
       4.      The parties provided me with sufficient information about the charged
               offense(s) and the defendant’s conduct to establish a factual basis for the plea.
       In light of the foregoing and the record submitted contemporaneously, I find the
defendant’s plea to be knowing, intelligent, and voluntary. I further find that all requirements of
the United States Constitution and Fed. R. Crim. P. 11 have been fully satisfied. Therefore, I
recommend that the Court accept the plea of guilty and enter a finding of guilt.
       IT IS SO ORDERED.
Dated: March 18, 2025




                                                 DARRELL A. CLAY
                                                 UNITED STATES MAGISTRATE JUDGE


        ANY OBJECTIONS to this Report and Recommendation must be filed with the
           Clerk of Court within fourteen days of service of this notice. Failure to file
        objections within the specified time WAIVES the right to appeal the Magistrate
         Judge’s recommendation. See United States v. Walters, 638 F.2d 947 (6th Cir.
                          1981); Thomas v. Arn, 474 U.S. 140 (1985).
